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12
                              UNITED STATES DISTRICT COURT
13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                Case No. 2:21-cv-07242 RGK(MARx)
16
                 Plaintiff,                    NOTICE OF VOLUNTARY DISMISSAL
17
                       v.
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      $914,700.00 IN U.S. CURRENCY,
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                 Defendant.
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     Case 2:21-cv-07242-RGK-MAR Document 12 Filed 02/28/22 Page 2 of 2 Page ID #:39



1           NOTICE is hereby given that, pursuant to Fed. R. Civ. P.

2     41(a)(1)(A), plaintiff United States of America voluntarily dismisses

3     the above-captioned action.

4     Dated: February 25, 2022           TRACY L. WILKISON
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8
                                         _______/s/___________________
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